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 8   Chelsea Hamilton and Alyssa Hernandez
 9   [Additional counsel listed on the following page]
10
                               UNITED STATES DISTRICT COURT
11
                          CENTRAL DISTRICT OF CALIFORNIA
12
13
     CHELSEA HAMILTON, individually and            Case No.: 5:17-cv-01415 AB (KKx)
14   on behalf of all others similarly situated,
     and ALYSSA HERNANDEZ, individually
15   and on behalf of all others similarly         PLAINTIFFS’ NOTICE OF APPEAL
16
     situated,                                     AND NINTH CIRCUIT RULE 302
                                                   REPRESENTATION STATEMENT
17               Plaintiffs,

18   v.
19   WAL-MART STORES, INC., a
     corporation, WAL-MART ASSOCIATES,
20   INC., a corporation and DOES 1 through
     50, inclusive,
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                 Defendants.
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                    NOTICE OF APPEAL AND REPRESENTATION STATEMENT
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 1                                   NOTICE OF APPEAL
 2         NOTICE IS HEREBY GIVEN that plaintiffs in the above-named case, Chelsea
 3   Hamilton and Alyssa Hernandez, on behalf of themselves and all others similarly
 4   situated (“Plaintiffs”), hereby appeal to the United States Court of Appeals for the Ninth
 5   Circuit from the final Judgment entered in this action on the 4th day of September, 2019
 6   (Docket No. 323) attached hereto as Exhibit A, and all interlocutory orders that gave
 7
     rise to the Judgment.
 8
 9
     Dated: October 2, 2019                 YOON LAW, APC
10
11
                                            By:      /s/ Kenneth H. Yoon
12                                                       Kenneth H. Yoon
                                                         Stephanie E. Yasuda
13                                                       Brian G. Lee
                                            Attorneys for Plaintiffs
14                                          Chelsea Hamilton and Alyssa Hernandez
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                     NOTICE OF APPEAL AND REPRESENTATION STATEMENT
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 1           NINTH CIRCUIT RULE 3-2 REPRESENTATION STATEMENT
 2         Pursuant to Rule 12(b) of the Federal Rules of Appellate Procedure and Ninth
 3   Circuit Rule 3-2(b), Plaintiffs-Appellants submit this Representation Statement
 4   identifying all parties to the action and their respective counsel by name, firm, address,
 5   telephone number, and e-mail where appropriate.
 6
      PARTIES                             COUNSEL OF RECORD
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